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                                                     Exhibit 10
                        Designations of Deposition Testimony of Ryan Guillen (June 29, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line          End Page/Line          Defendants’      Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                            Objections
       30:15                   31:15
       33:21                   33:24
       39:5                    39:16
      140:18                   140:23
       155:6                   155:13
      155:24                   156:3
       156:9                   158:1
      195:19                   196:7




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